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March 7, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:      United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

         Pursuant to the Court’s Individual Rules, we submit this letter to respectfully request
permission to file an oversized 16-page reply brief in support of Sean Comb’s motion to suppress
(Dkt. 160), which is due March 10, 2025. We previously consented to the government’s request
to file an oversized opposition totaling 35 pages, which the Court granted. (Dkt. 165). The
government has no objection to this request.

                                                   Respectfully submitted,

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